Case 6:24-cv-00306-JCB Document 44 Filed 09/02/24 Page 1 of 8 PageID #: 591




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION

STATE OF TEXAS, et al.,

            Plaintiffs,

   v.
                                         No.: 6:24-cv-0306
UNITED STATES DEPARTMENT OF
HOMELAND SECURITY, et al.,

            Defendants.


PROPOSED INTERVENORS’ REPLY IN SUPPORT OF MOTION TO INTERVENE
                         [ECF No. 15]




                                     1
 Case 6:24-cv-00306-JCB Document 44 Filed 09/02/24 Page 2 of 8 PageID #: 592




       Proposed Intervenors seek to protect their interests in family unity, employment

authorization, and protection from deportation. The law unquestionably favors intervention to

protect critical interests like these, which are not adequately represented by the existing parties,

especially when intervention will contribute to the case’s development without delaying or

prejudicing adjudication. An amicus brief is not a sufficient or appropriate substitute. Proposed

Intervenors’ motion to intervene, which Federal Defendants do not oppose, should be granted.

                                           ARGUMENT

       I.      Proposed Intervenors Are Entitled to Intervene as of Right

       Plaintiffs do not contest that Proposed Intervenors’ intervention is timely and implicates

legally protectable interests that this action may impair. See Fed. R. Civ. P (“FRCP”) 24(a)(2).

They argue instead that the Court should delay ruling on Proposed Intervenors’ motion, but that is

unnecessary as Federal Defendants’ interests in this case are far from “speculative.” Plaintiffs’

Opposition to Proposed Intervenors’ Motion to Intervene as Defendants (“MTI Opp.”) at 5. Federal

Defendants have published a lengthy Federal Register Notice explaining their reasoning for

implementing, and their interests in maintaining, KFT Parole. Implementation of Keeping Families

Together (“KFT FRN”), 89 Fed. Reg. 67459, 67461 (Aug. 20, 2024). Moreover, there is no

requirement that an answer be filed before intervention is granted. See, e.g., Texas v. United States,

No. 6:21-CV-00003, 2021 WL 411441 (S.D. Tex. Feb. 6, 2021).

       Neither presumption of adequate representation applies, as Plaintiffs claim. First, Plaintiffs

claim that a presumption exists because the federal government is “charged with implementing

DHS policies and defending them in court,” so it is “charged by law with representing the interests”

of Proposed Intervenors. MTI Opp. at 42. But this presumption only applies “where one party is a

representative of the absentee by law.” Entergy Gulf States La. LLC v. EPA, 817 F.3d 198, 203



                                                  2
 Case 6:24-cv-00306-JCB Document 44 Filed 09/02/24 Page 3 of 8 PageID #: 593




(5th Cir. 2016). DHS is clearly not a representative of Proposed Intervenors by law. See id. DHS

has the power to both deny and grant KFT Parole, and it also has the broader power of immigration

enforcement that it can exercise against Proposed Intervenors. Proposed Intervenors’ Motion to

Intervene as Defendants (“MTI”) at 19-20.

       Plaintiffs also argue that a presumption of adequacy exists because Federal Defendants and

Proposed Intervenors share “the same ultimate objective” of keeping KFT Parole in effect. MTI

Opp. at 3. The Fifth Circuit in Brumfield unequivocally rejected this gloss. 749 F.3d at 346

(granting intervention as of right to parents whose children’s school vouchers risked being

enjoined in a lawsuit between the U.S. and Louisiana). There, the Court held that the “ultimate

objective” presumption did not apply because the state had “many interests” in addition to

maintaining the voucher program, while the parents’ only concern was “keeping their vouchers.”

Id. at 346. Here, as in Brumfield, Federal Defendants have broad institutional interests, including

foreign policy and national security objectives that could affect its arguments. Proposed

Intervenors’ singular concern is keeping their families together in the U.S. MTI at 14-16.

       Even if the Court finds that either presumption applies, Proposed Intervenors have clearly

rebutted them because their interests “in fact differ” from Federal Defendants’, “in a manner

germane to the case.” Texas v. United States, 805 F.3d 653, 662-64 (5th Cir. 2015) (hereinafter

“DAPA Intervention”). In DAPA Intervention, the Fifth Circuit granted intervention of right to

individuals with concerns nearly identical to Proposed Intervenors’: to remain in their long-time

home state, retain custody of their U.S. citizen children, and obtain work authorization to provide

for their families. Id. at 663. These concerns diverged from the government’s interests in, inter

alia, “securing an expansive interpretation of executive authority, [and] efficiently enforcing the

immigration laws.” Id. The Fifth Circuit has long “acknowledged the significance of [this]



                                                3
 Case 6:24-cv-00306-JCB Document 44 Filed 09/02/24 Page 4 of 8 PageID #: 594




distinction between institutional and individual representation in the context of Rule 24

intervention.” Texas, 2021 WL 411441, at *3-4 (distinguishing between federal defendants’

“institutional and political” concern “over the humanitarian impact” of immigration enforcement

and proposed intervenors’ interests in the individual impact of the challenged enforcement policy).

       Proposed Intervenors have described how their narrow, deeply held interests in keeping

their families together, obtaining work authorization, and being free of the fear of removal diverge

from Federal Defendants’ broader, institutional interests. MTI at 6-10, 17-20 Proposed

Intervenors’ arguments and evidence of KFT Parole’s benefits are relevant for the appropriate

remedy in this case. See infra Section II.a. Federal Defendants, in contrast, are less likely to make

arguments that could limit the federal government’s authority or emphasize the harm of the

existing immigration system. Id. at 17-20. Proposed Intervenors have thus met their “minimal”

burden of demonstrating that Federal Defendants’ representation may be inadequate and thus they

are entitled to intervene as of right. Sierra Club v. Espy, 18 F.3d 1202, 1207-08 (5th Cir. 1994).

       II.       Proposed Intervenors Also Meet the Permissive Intervention Requirements.

       Proposed Intervenors alternatively merit permissive intervention because the existing

parties do not represent their interests, Proposed Intervenors will significantly contribute to the

development of the issues, and intervention will not unduly delay or prejudice adjudication.

             A. Intervention Will Significantly Contribute to Full Development of the Case.

       Proposed Intervenors offer a unique perspective currently absent from the litigation and

thus will aid in developing “the underlying factual issues in the suit.” New Orleans Pub. Serv., Inc.

v. United Gas Pipe Line Co., 732 F.2d 452, 472 (5th Cir. 1984) (citation omitted). For example, to

assist the Court’s consideration of Plaintiffs’ preliminary injunction motion, Proposed Intervenors

are poised to develop the legal and factual record that will inform the Court’s balance of equities


                                                 4
 Case 6:24-cv-00306-JCB Document 44 Filed 09/02/24 Page 5 of 8 PageID #: 595




and public interest analyses. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). They

may also aid the Court’s irreparable harm analysis, offering countervailing evidence of KFT

Parole’s benefits to Plaintiffs and their residents. See, e.g., Declarations of Oscar Silva Perez and

Natalie Taylor, ECF No. 15-1, 15-2 (highlighting KFT Parole’s direct benefits to longtime

residents within a Plaintiff state).

        An amicus brief is not a sufficient or appropriate substitute here. Bush v. Viterna does not

apply; the Fifth Circuit affirmed denial of permissive intervention where the proposed intervenor

requested leave to appear as an amicus before seeking intervention. 740 F.2d 350, 354 (5th Cir.

1984). Similarly, the court in La Union del Pueblo Entero v. Abbott found an amicus brief would

suffice where the proposed intervenor failed to show unique legal interests or factual contributions.

No. SA-21-cv-00844, 2021 WL 5410516, at *3 (W.D. Tex. Nov. 16, 2021). Proposed Intervenors

should not be denied the privileges of full party status, including introducing evidence as to their

unique interests, engaging in discovery, and retaining the right to appeal.

        B. Intervention Will Not Unduly Delay or Prejudice Adjudication.

        Plaintiffs’ concerns that intervention would introduce delay and complicate the Court’s

schedule are unfounded. Proposed Intervenors filed their Motion to Intervene one business day

after the suit was filed to avoid delay. Shortly thereafter, this Court issued a comprehensive

schedule for the litigation of this case—including adjudication of Proposed Intervenors’ Motion—

that will enable this Court to render judgment less than two months after Plaintiffs filed suit.

        Plaintiffs have put forward no evidence suggesting that Proposed Intervenors would

undermine the Court’s schedule. Proposed Intervenors are moving swiftly, filing two replies on a

holiday weekend, precisely to abide by the Court’s schedule, and are prepared to join the parties’

stipulation limiting discovery, ECF No. 36, and to propound discovery upon being granted


                                                  5
 Case 6:24-cv-00306-JCB Document 44 Filed 09/02/24 Page 6 of 8 PageID #: 596




intervention. Proposed Intervenors’ attempt to schedule a conference ahead of an anticipated

motion, ECF No. 42-1, only shows that Proposed Intervenors are working in good faith to comply

with the Court’s rules, avoid delay while their intervention motion is pending, and facilitate

concurrent briefing for a similar motion filed by Federal Defendants. Further, due to their divergent

interests, there are issues that Federal Defendants will be better situated to brief and that Proposed

Intervenors may not address, which eases Plaintiffs’ concerns of duplicative or unnecessary

proceedings. Insofar as Proposed Intervenors introduce additional facts and arguments, that is

precisely the point of intervention. See Brumfield, 749 F.3d at 345 (“[The] purpose of intervention

is to allow interested parties to air their views . . .”). Plaintiffs have failed to show how intervention

would cause prejudice or delay. This Court should grant permissive intervention.

        III.    Excluding Proposed Intervenors From Discovery Would Be Improper.

        This Court should reject Plaintiffs’ suggestion to exclude Proposed Intervenors from

discovery. While Plaintiffs cite an extra-circuit case to assert that a “district court is able to impose

almost any condition, including the limitation of discovery,” ECF No. 42 at 13, the cases cited

from this Circuit do not support their request. In Bibles v. City of Irving, the court granted limited

intervention to a discharged law firm seeking to protect its lien on any judgment of settlement. No.

3:08-cv-1795-M, 2009 WL 2252510 (N.D. Tex. July 28, 2009). The court limited the intervenor’s

participation in discovery to its lien, and not the merits of the case. Id. at *5. Here, Proposed

Intervenors seek to defend KFT Parole fully from the relief sought in Plaintiffs’ complaint, so

limitations on their participation in discovery, much less exclusion altogether, are unwarranted.

See also Beauregard, Inc. v. Sword Servs. L.L.C., 107 F.3d 351, 353 (5th Cir. 1997).

        For the foregoing reasons, and those discussed in Proposed Intervenors’ Motion, Proposed

Intervenors respectfully request that the Court grant them intervention.



                                                    6
 Case 6:24-cv-00306-JCB Document 44 Filed 09/02/24 Page 7 of 8 PageID #: 597




Dated: September 2, 2024                           Respectfully submitted,

                                                   /s/ Esther H. Sung
                                                   Esther H. Sung* (Lead Attorney)
Paige Austin*
                                                   California Bar No. 255962
New York Bar No. 5246954                           esther.sung@justiceactioncenter.org
paige.austin@maketheroadny.org
                                                   Karen C. Tumlin*
Harold A. Solis*                                   California Bar No. 234961
New York Bar No. 5122726                           karen.tumlin@justiceactioncenter.org
Harold.Solis@maketheroadny.org
                                                   Hillary Li*
MAKE THE ROAD NEW YORK                             Georgia Bar No. 898375
301 Grove Street                                   hillary.li@justiceactioncenter.org
Brooklyn, NY 11237
Telephone: (718) 418-7690                          Laura Flores-Perilla*
Facsimile: (866) 420-9169                          California Bar No. 355645
                                                   laura.flores-perilla@justiceactioncenter.org

                                                   Brandon Galli-Graves*
 * Admitted Pro Hac Vice                           Texas Bar No. 24132050
                                                   brandon.galli-
                                                   graves@justiceactioncenter.org

                                                   Vanessa Rivas-Bernardy*
                                                   California Bar No. 341464
                                                   vanessa.rivas-
                                                   bernardy@justiceactioncenter.org

                                                   JUSTICE ACTION CENTER
                                                   P.O. Box 27280
                                                   Los Angeles, CA 90027
                                                   Telephone: (323) 450-7272
                                                   Facsimile: (323) 450-7276


                           Counsel for Proposed Intervenor Defendants




                                               7
  Case 6:24-cv-00306-JCB Document 44 Filed 09/02/24 Page 8 of 8 PageID #: 598



                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 2, 2024, I electronically filed this motion with the Clerk

of the Court for the United States District Court for the Eastern District of Texas by using the

CM/ECF system. Counsel in this case are registered CM/ECF users and service will be accomplished

by the CM/ECF system.

                                             /s/ Esther H. Sung
                                             Esther H. Sung




                                                 8
